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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case # 3:08cr75-003LAC

THEODORE S. SUMRALL
                                                                USM # 07107-017

                                                                Defendant’s Attorney:
                                                                M. James Jenkins (Retained)
                                                                1211 West Garden Street
                                                                Pensacola, Florida 32501
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts One and Thirty-Nine of the Superseding Indictment on July
8, 2009. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which
involve the following offenses:

       TITLE/SECTION                          NATURE OF                 DATE OFFENSE
          NUM BER                              OFFENSE                   CONCLUDED                COUNT

 18 U.S.C. § 1512(c)              Obstruction of Justice                 March 24, 2008            One

 18 U.S.C. §§ 208 and             Conflict of Interest (Aiding and     Septem ber 21, 2006      Thirty-Nine
 216(a)(2) and 2                  Abetting)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts 11 through 38 dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                Date of Imposition of Sentence:
                                                                September 22, 2009


                                                                s /L.A. Collier
                                                                LACEY A. COLLIER
                                                                SENIOR UNITED STATES DISTRICT JUDGE

                                                                September 23, 2009
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                                                      PROBATION

       The defendant is hereby placed on probation for a term of 4 years as to Counts One and
Thirty-Nine, with counts to run concurrently one with the other.

          While on probation, the defendant shall not commit another federal, state, or local crime
and shall not illegally possess a firearm, ammunition, or destructive device. The defendant shall
also comply with the standard conditions that have been adopted by this court (set forth below).
If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that
the defendant pay any such fine or restitution.

       For offenses committed on or after September 13, 1994: The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from placement on probation and at least two periodic drug tests thereafter, as
directed by the probation officer.

      The above drug testing condition is suspended based on the Court’s determination that the
defendant poses a low risk of future substance abuse.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       the defendant shall not leave the judicial district without the perm ission of the court or probation
         officer;

2.       the defendant shall report to the probation officer and shall subm it a truthful and com plete written
         report within the first five days of each m onth;

3.       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       the defendant shall support his or her dependents and m eet other fam ily responsibilities;

5.       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       the defendant shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or adm inister any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       the defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or adm inistered;
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9.       the defendant shall not associate with any persons engaged in crim inal activity and shall not associate
         with any person convicted of a felony unless granted perm ission to do so by the probation officer;

10.      the defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and
         shall perm it confiscation of any contraband observed in plain view of the probation officer;

11.      the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
         law enforcem ent officer;

12.      the defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law
         enforcem ent agency without the perm ission of the court; and

13.      as directed by the probation officer, the defendant shall notify third parties of risks that m ay be
         occasioned by the defendant’s crim inal record or personal history or characteristics and shall perm it
         the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such
         notification requirem ent.

14.      if this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Paym ents set forth in
         the Crim inal Monetary Penalties sheet of this judgm ent.

                              ADDITIONAL CONDITIONS OF PROBATION

         The defendant shall also comply with the following additional conditions of probation:

         The defendant shall provide the probation officer with access to any requested financial
         information.

         The defendant shall not incur new credit charges or open additional lines of credit without
         the approval of the probation officer unless the defendant has satisfied his fine obligation.

         The defendant shall not transfer or dispose of any asset, or his interest in any asset, without
         the prior approval of the probation officer unless he has satisfied his fine obligation.
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                 Upon a finding of a violation of probation or supervised release, I understand the
         Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
         conditions of supervision.
                 These conditions have been read to me. I fully understand the conditions and have
         been provided a copy of them.




                   Defendant                                                     Date




         U.S. Probation Officer/Designated Witness                      Date
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                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                       Restitution

               $200.00                                     $5,000.00                        $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 ($100.00 each count) is imposed and is to be
paid immediately.

                                                            FINE

A fine in the amount of $5,000.00 is imposed and is to be paid immediately.

No restitution imposed.
